  8:13-cr-00347-JFB-FG3            Doc # 35   Filed: 12/31/13     Page 1 of 1 - Page ID # 63




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:13CR347
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
DEWAYNE K. LONG,                                )
                                                )
                      Defendant.                )

       This matter is before the court on the motion for extension of pretrial motion deadline by
defendant Dewayne K. Long [33]. Defendant seeks an additional sixty days in which to file
pretrial motions in accordance with the progression order. Defendant's counsel represents that
government's counsel has no objection to the motion and a waiver of speedy trial has been
forwarded to the defendant. Upon consideration, the motion will be granted in part.


       IT IS ORDERED:
       Defendant Dewayne K. Long's Motion for Extension of Pretrial Motion Deadline [33] is
granted in part. Defendant is given until on or before January 30, 2014, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting
such motions and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between today's
date and January 30, 2014, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 31st day of December, 2013.
                                                    BY THE COURT:

                                                    s/ F.A. Gossett
                                                    United States Magistrate Judge
